Case 2:03-cr-20367-SH|\/| Document 340 Filed 04/26/05 Page 1 of 3 Page|D 397

 

 

IN THE UNITED sTATEs D:sTRIcT coURT H13
FOR THE WESTERN DISTRICT oF TENNESSEE nhj iam ;
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R(_`)E§;r'\! 1'1. dube ri',lc_)
UNITED sTATEs oF AMERICA; §H§"§b§§ MaMPMS
vs. No. 03»20367-Ma

IDA MORTON WADE,

Defendant.

 

ORDER GRANTING PERMISSION FOR DEFENDANT TO TRAVEL

 

Before the court is the April l, 2005 motion by defendant
requesting permission to travel to Olive Branch, Mississippi, for
Work purposes. Ms. Wade’s Pretrial Officer and counsel for the
government do not object to the motion. For good cause shown,
the motion to travel is granted and defendant is allowed to
travel to Olive Branch, Mississippi, for Work purposes.

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rt is 50 0RDERED this ZL, day f April, 2005.

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s EL H. MAYS,`JR.
UN TED sTATEs DISTRICT JUDGE

  
 

Thfs document entered on the docket sh
with Hule 55 and/or 32(b) FHCrP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 340 in
case 2:03-CR-20367 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

